              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                                1:13 mj 19


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                 ORDER
                                       )
ROBERT SHANE WATSON and                )
DERRICK VONSHAY MARTIN,                )
                                       )
                 Defendants.           )
______________________________________ )


      THIS MATTER has come before the undersigned pursuant to the

Government’s Motion to Dismiss (#36). In the motion, the Government requests

that charges against the Defendants contained in this file be dismissed pursuant to

those Defendants’ plea agreement with the Government. Based upon the contents

of the motion, the undersigned finds that the motion has merit and the motion will

be allows.

                                  ORDER

      IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss (#36) is hereby ALLOWED and the criminal charges in this file are

dismissed as to the Defendants Robert Shane Watson and Derrick Vonshay Martin.




                                        1



      Case 1:13-mj-00019-DLH     Document 38     Filed 06/14/13   Page 1 of 2
                                          Signed: June 13, 2013




                               2



Case 1:13-mj-00019-DLH   Document 38   Filed 06/14/13        Page 2 of 2
